                                   Case 21-10023-JTD                 Doc 1       Filed 01/11/21            Page 1 of 15


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wardman Hotel Owner, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Wardman Hotel, L.L.C.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2660 Woodley Road, NW                                           5035 Riverview Road, NW
                                  Washington, DC 20008                                            Atlanta, GA 30327
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  District of Columb                                              Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Wardman Hotel Owner, L.L.C.                                                               Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                              Case number
                                                  District                                 When                              Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                 Relationship
                                                  District                                 When                          Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 21-10023-JTD                      Doc 1      Filed 01/11/21             Page 3 of 15
Debtor   Wardman Hotel Owner, L.L.C.                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 21-10023-JTD                   Doc 1        Filed 01/11/21             Page 4 of 15
Debtor    Wardman Hotel Owner, L.L.C.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 11, 2021
                                                  MM / DD / YYYY


                             X   /s/ James D. Decker                                                      James D. Decker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Laura Davis Jones                                                     Date January 11, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Laura Davis Jones
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      ljones@pszjlaw.com

                                 2436 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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      Fill in this information to identify the case:

      Debtor name       Wardman Hotel Owner, L.L.C.
      United States Bankruptcy Court for the:                                  District of Delaware
                                                                                        (State)
                                                                                                                                                         Check if this is an
      Case number (If known):   21-                                                                                                                      amended filing




    Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                 12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.



                                                                                                                               Amount of unsecured claim
                                                                                                                               If the claim is fully unsecured, fill in only
                                                                                         Nature of the claim                   unsecured claim amount. If claim is partially
                                                                                        (for example, trade    Indicate if     secured, fill in total claim amount and deduction
     Name of creditor and complete                                                      debts, bank loans,     claim is        for value of collateral or setoff to calculate
                                                Name, telephone number, and                                                    unsecured claim.
     mailing address, including zip                                                     professional           contingent,
                                                email address of creditor contact
     code                                                                               services, and          unliquidated,
                                                                                        government             or disputed
                                                                                        contracts)                                               Deduction for
                                                                                                                               Total claim, if
                                                                                                                                                 value of         Unsecured
                                                                                                                               partially
                                                                                                                                                 collateral or    claim
                                                                                                                               secured
                                                                                                                                                 setoff


      Marriott Hotel Service, Inc.              Attn: Law Department 52/923 -- Hotel
                                                                                                               Contingent
1     10400 Fernwood Road                       Operations                              Trade debt                                                               unknown
                                                                                                               Unliquidated
      Bethesda, Maryland 20817                  Fax: (301) 380-1074
                                                                                                               Disputed

      Wardman Tower, L.L.C.
      c/o JBG Companies                         Attn: Kenneth F. Finkelstein
                                                                                        Cost sharing
2     4445 Williard Avenue                      Tel: (240) 333-3600                                            Unliquidated                                      unknown
                                                                                        agreement
      Suite 400                                 Email: media@jbgsmith.com
      Chevy Chase, MD 20815


      Office of Tax and Revenue            Attn: Jeffrey S. DeWitt
                                                                                                               Contingent
3     1101 4th Street, SW, Suite 270 West, Tel: (202) 727-4829                          Tax claims                                                               unknown
                                                                                                               Unliquidated
      Washington, DC 20024                 Fax: (202) 442-6890


      UNITE HERE INT’L UNION
      Local 25                                  Attn: John A Boardman
                                                                                                               Contingent
4     901 K. Street, N.W.                       Tel: 202-737-2225                       Benefit claims                                                           unknown
                                                                                                               Unliquidated
      2nd Floor                                 Fax: 202-393-3741
      Washington, D.C. 20001



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                                                                                                                 Amount of unsecured claim
                                                                                                                 If the claim is fully unsecured, fill in only
                                                                           Nature of the claim                   unsecured claim amount. If claim is partially
                                                                          (for example, trade    Indicate if     secured, fill in total claim amount and deduction
     Name of creditor and complete                                        debts, bank loans,     claim is        for value of collateral or setoff to calculate
                                      Name, telephone number, and                                                unsecured claim.
     mailing address, including zip                                       professional           contingent,
                                      email address of creditor contact
     code                                                                 services, and          unliquidated,
                                                                          government             or disputed
                                                                          contracts)                                               Deduction for
                                                                                                                 Total claim, if
                                                                                                                                   value of         Unsecured
                                                                                                                 partially
                                                                                                                                   collateral or    claim
                                                                                                                 secured
                                                                                                                                   setoff




6




7




8




9




10




11




12




13




14




15
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                                                                                                                 Amount of unsecured claim
                                                                                                                 If the claim is fully unsecured, fill in only
                                                                           Nature of the claim                   unsecured claim amount. If claim is partially
                                                                          (for example, trade    Indicate if     secured, fill in total claim amount and deduction
     Name of creditor and complete                                        debts, bank loans,     claim is        for value of collateral or setoff to calculate
                                      Name, telephone number, and                                                unsecured claim.
     mailing address, including zip                                       professional           contingent,
                                      email address of creditor contact
     code                                                                 services, and          unliquidated,
                                                                          government             or disputed
                                                                          contracts)                                               Deduction for
                                                                                                                 Total claim, if
                                                                                                                                   value of         Unsecured
                                                                                                                 partially
                                                                                                                                   collateral or    claim
                                                                                                                 secured
                                                                                                                                   setoff




16




17




18




19




20
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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

                                          )
In re:                                    )    Chapter 11
                                          )
WARDMAN HOTEL OWNER, L.L.C.,              )    Case No. 21-_____ (___)
                                          )
           Debtor.                        )
                                          )

                     LIST OF EQUITY SECURITY HOLDERS



Name                       Address                          Percentage of Equity

                           700 Newport Center Drive
PL Wardman Member, LLC                                      100%
                           Newport Beach, CA 92660
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                    )
    In re:                                          )   Chapter 11
                                                    )
    WARDMAN HOTEL OWNER, L.L.C.,                    )   Case No. 21-_____ (___)
                                                    )
                  Debtor.                           )
                                                    )


                            CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the Debtor’s equity interest:


    Name                          Address                         Percentage of Equity

                                  700 Newport Center Drive
    PL Wardman Member, LLC                                        100% (direct)
                                  Newport Beach, CA 92660
    Pacific Life Mutual Holding   700 Newport Center Drive
                                                                  100% (indirect)1
    Company                       Newport Beach, CA 92660




1
  Pacific Life Mutual Holding Company (a Nebraska Mutual Insurance Holding Company) owns
100% of Pacific Life Corp (a Delaware Corp), which owns 100% of Pacific Life Insurance
Company (a Nebraska Company), which owns 100% of Pacific Asset Holding LLC (a Delaware
LLC), which owns 100% of PL Wardman Member, LLC (a Delaware LLC), which now owns
100% of Wardman Hotel Owner, L.L.C.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )    Chapter 11
                                                     )
 WARDMAN HOTEL OWNER, L.L.C.,                        )    Case No. 21-_____ (___)
                                                     )
                Debtor.                              )
                                                     )

                          CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above-captioned Debtor hereby
certifies that the Creditor Matrix submitted contemporaneously herewith contains the names and
addresses of (a) the Debtor’s creditors and (b) those parties who may have claims related to the
Debtor’s chapter 11 case. To the best of the Debtor’s knowledge, the Creditor Matrix is complete,
correct, and consistent with Debtor’s books and records.

        The information contained herein is based upon a review of the Debtor’s books and records
as of the Petition Date and information provided by certain other third parties. However, no
comprehensive legal and/or factual investigations with regard to possible defenses to any claims
set forth in the Creditor Matrix have been completed. Therefore, the listing does not, and should
not, be deemed to constitute: (1) a waiver of any defense to any listed claims; (2) an
acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other right or
legal position of the Debtor.
ADC                       Case 21-10023-JTD
                                        AWBC, Doc
                                              LLC 1     Filed 01/11/21   Page 11 of 15 Computer
                                                                              Connect
12280 Wilkins Ave.                      11261 Somerset Ave.                    338 Commerce Drive
Suite 101                               Beltsville, MD 20705                   Fairfield, CT 06825
Rockville, MD 20852
      x
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      }




Agoda International USA LLC             Bio-Kinetic                            Convention Handling Services, LLC
Suite 6600                              39 Bralan Ct.                          P.O. Box 200511
350 Fifth Avenue                        Gaithersburg, MD 20877                 San Antonio, TX 78220
Empire State Bldg., 66th Floor
New York, NY 10118

Aireco Supply, Inc.                     BluIP, Inc.                            Courtesy Products
P.O. Box 414                            P.O. Box 508                           P.O. Box 840020
Savage, MD 20763                        Burbank, CA 91503                      Kansas City, MO 64184




Airgas USA, LLC                         Brink's Inc.                           Cvent, Inc.
6055 Rockside Woods Blvd.               P.O. Box 101031                        1765 Greensboro Station Place
Independence, OH 44131                  Atlanta, GA 30392                      7th Floor
                                                                               Mc Lean, VA 22102


Allana Buick Bers, Inc.                 Choice Plantings Inc.                  DC Water
990 Commercial Street                   180N Penrod Ct.                        1385 Canal Street SE
Palo Alto, CA 94303                     Glen Burnie, MD 21061                  Washington, DC 20003




American Hotel Register                 Cintas Corporation                     Destination DC
100 S. Miluakee Ave.                    P.O. Box 630303                        901 7th Street NW
Vernon Hills, IL 60061                  Cincinnati, OH 45263                   Washington, DC 20001




American University                     CN Robinson LTG. Supply Co.            Direct Energy
Andrew Spath                            4318 Washington Blvd.                  1001 Liberty Avenue
4400 Massachusetts Ave. NW              Halethorpe, MD 21227                   Pittsburgh, PA 15222
Washington, DC 20016


Apex Companies, LLC                     Coastal Sunbelt Produce                Direct TV
P.O. Box 69142                          9001 Whiskey Bottom Rd.                P.O. Box 105249
Baltimore, MD 21264                     Laurel, MD 20723                       Atlanta, GA 30348




ASSA ABLOY Hospitality Inc.             Complete Pest Elimination LLC          Dominion Elevator Inspection Svcs.
P.O. Box 676947                         822 King St.                           7475 Carlisle Road
Dallas, TX 75267                        PMB 150                                Wellsville, PA 17365
                                        Alexandria, VA 22314


AT&T Mobility                           Congressional Hotel Dry Cleaning LLC   Dow Jones & Company
PO Box 6463                             8421 Broad Street                      P.O. Box 300
Carol Stream, IL 60197                  Suite 2104                             Princeton, NJ 08543
                                        Mc Lean, VA 22102
Ecolab                  Case 21-10023-JTD     Doc 1 USA,
                                      Insight Direct  Filed
                                                          Inc.01/11/21      Page 12 of 15
                                                                                 KochFilter
26252 Network Place                     P.O. Box 731069                           P.O. Box 732692
Chicago, IL 60673                       Dallas, TX 75373                          Dallas, TX 75373




FedEx                                   International Display & Exhibit Corp.     Lasership, Inc.
7900 Legacy Drive                       4 Pequot Way                              Dept. 720037
Plano, TX 75024                         Canton, MA 02021                          P.O. Box 1335
                                                                                  Charlotte, NC 28201


Grainger                                International Gourmet Foods, Inc.         Lyon Bakery
4748 Forbes Blvd.                       7520 Fullerton Road                       P.O. Box 1360
Lanham, MD 20706                        Springfield, VA 22153                     Hyattsville, MD 20785




Guest Supply                            Ize's Deli and Bagelry                    Marriott Hotel Service, Inc.
P.O. Box 6771                           11622 Rockville Pike                      10400 Fernwood Road
Somerset, NJ 08875                      Rockville, MD 20852                       Bethesda, MD 20817




Haislip Corp.                           J. J. McDonnell & Co., Inc.               Millenium Pools & Spas, LLC
P.O. Box 222486                         7010 Brookdale Drive                      8927 Lake Braddock Drive
Chantilly, VA 20153                     Elkridge, MD 21075                        Burke, VA 22015




Halperns' Steak & Seafood               Johnson Controls                          Mona
P.O. Box 116421                         3650 Concorde Parkway                     7915 Malcolm Road
Atlanta, GA 30368                       Chantilly, VA 20151                       Clinton, MD 20735




Heritage Food Service Group, Inc.       JPG Plumbing & Mechanical Svcs., Inc. MS Shift, Inc.
5130 Execuitve Blvd.                    8260 Patuxent Range Rd.               One World Trade Center
Fort Wayne, IN 46808                    Suite H                               Suite 47M
                                        Jessup, MD 20794                      New York, NY 10007


Hubert Company                          JR Resources, Inc.                        MyDigitalOffice.com
25401 Network Place                     1130 Camino Del Mar                       Bethesda Towers
Chicago, IL 60673                       Suite H                                   4350 East West Hwy.
                                        Del Mar, CA 92014                         Suite 401
                                                                                  Bethesda, MD 20814

Hufcor, Inc.                            Karcher North America                     Nalco Water
10820 Guilford Rd.                      Dept. Ch. 19244                           P.O. Box 70716
Suite 210                               Palatine, IL 60055                        Chicago, IL 60673
Annapolis Junction, MD 20701


Innovative Security Systems, Inc.       Keany Produce & Gourmet                   Network Services Company
4815 Prince Georges Avenue              3310 75th Ave.                            29060 Network Place
Suite 3                                 Hyattsville, MD 20785                     Chicago, IL 60673
Beltsville, MD 20705
New Life Solutions, LLCCase   21-10023-JTD
                                       PSAV Doc 1       Filed 01/11/21        Page 13 of 15
                                                                                   Sonifi Solutions, Inc.
10975D Richardson Road                 23918 Network Place                          3900 W. Innovation St.
Ashland, VA 23005                      Chicago, IL 60673                            Sioux Falls, SD 57107




NTL Technology Leasing                 Quench USA, Inc.                             Speed Check Conveyor LLC
23430 Rock Haven Way                   630 Allendale Road                           5345 Truman Dr.
Suite 220                              Suite 200                                    Decatur, GA 30035
Sterling, VA 20166                     King of Prussia, PA 19406


Office Depot, Inc.                     Ready Refresh                                SPNA LLC
P.O. Box 630813                        P.O. Box 856192                              12216 Rohan Ct.
Cincinnati, OH 45263                   Louisville, KY 40285                         Owings Mills, MD 21117




Office of Tax and Revenue              Regal Hospitality Group                      Supply Facilities Maintenance
Customer Service Center                13940 W. Hillsborough Ave.                   P.O. Box 509058
1101 4th Street, SW                    Tampa, FL 33635                              San Diego, CA 92150
Suite W270
Washington, DC 20004

PEPCO                                  Renue                                        Teddys Fresh Baked Pizza
P.O. Box 97274                         1102 N. Main St.                             1051 - D Cannons Ct.
Washington, DC 20090                   Lombard, IL 60148                            Woodbridge, VA 22191




Pepsi Beverages Co.                    Restaurant Technologies, Inc.                The Badge Company Inc.
6751 Alexander Bell Drive              12962 Collections Center Drive               18261 Enterprise Lane
Columbia, MD 21046                     Chicago, IL 60693                            Suite D
                                                                                    Huntington Beach, CA 92648


Plant Based Foods, Inc.                Roberts Oxygen Co., Inc.                     The Chefs Warehouse
P.O. Box 1841                          P.O. Box 5507                                7477 Candlewood Rd.
21011 St. Louis Rd.                    Derwood, MD 20855                            Hanover, MD 21076
Middleburg, VA 20118


PM Hood & Duct, Inc.                   Rose Restoration International, Inc.         The Wasserstrom Company
3701 Solomons Island Rd.               2711 Unit L Dorr Ave.                        P.O. Box 182056
Harwood, MD 20776                      Fairfax, VA 22031                            Columbus, OH 43218




Power Services Inc.                    RR Donnelley                                 Tingue
4370 Lottsford Vista Rd.               4101 Winfield Road                           309 Dividend Drive
Lanham, MD 20706                       Warrenville, IL 60555                        Peachtree City, GA 30269




Professional Fitness Management, LLC   Schindler Elevator Corporation               Titan Global Distribution, Inc.
P.O. Box 370                           PO Box 93050                                 11973 Westline Industrial Drive
Galena, MD 21635                       Chicago, IL 60673                            Saint Louis, MO 63146
Trans Time Express          Case 21-10023-JTD    DocCommunications,
                                          Windstram  1 Filed 01/11/21
                                                                    LLC   Page 14 of 15
11820 Parklawn Dr.                         P.O. Box 843006
Suite 205                                  Kansas City, MO 64184
Rockville, MD 20852


Traveltraders Hotels Inc.                  Windstream Communications
6205 Blue Lagoon Drive                     1814 West Tacoma Street
Suite 550                                  Broken Arrow, OK 74012
Miami, FL 33126


TriMark Adams-Burch                        Xerox Corporation
1901 Stanford Court                        P.O. Box 299075
Hyattsville, MD 20785                      Lewisville, TX 75029




UNITE HERE INTERNATIONAL UNION             XO Communications
Local 25                                   P.O. Box 299075
901 K Street, N.W.                         Albany, NY 12217
2nd Floor
Washington, DC 20001

USA Today                                  XO Communications
P.O. Box 677446                            8851 Sandy Pkwy
Dallas, TX 75267                           Sandy, UT 84070




Verizon
P.O. Box 16801
Newark, NJ 07101




Verizon
P.O. Box 15124
Albany, NY 12212




Veterans Storage Inc.
P.O. Box 436
Lothian, MD 20711




Wardman Tower, L.L.C.
c/o JBG Companies
4445 Willard Avenue
Suite 400
Chevy Chase, MD 20815

Washington Gas
6801 Industrial Road
Springfield, VA 22151
                                    Case 21-10023-JTD                        Doc 1        Filed 01/11/21            Page 15 of 15




 Fill in this information to identify the case:

 Debtor name         Wardman Hotel Owner, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               List of Equity Security Holders; Corporate Ownership Statement;
                                                                           Certification of Creditor Matrix

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 11, 2021                        X /s/ James D. Decker
                                                                       Signature of individual signing on behalf of debtor

                                                                       James D. Decker
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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